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                                                                          6                               IN THE UNITED STATES DISTRICT COURT
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                                                                                                   FOR THE NORTHERN DISTRICT OF CALIFORNIA
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                                                                         10   UNITED STATES OF AMERICA,                                    No. CR 16-00440 WHA
                                                                         11
United States District Court




                                                                                             Plaintiff,
                               For the Northern District of California




                                                                         12     v.                                                         AMENDED ORDER
                                                                         13                                                                RE TUESDAY’S
                                                                              YEVGENIY ALEKSANDROVICH                                      COMPETENCY HEARING
                                                                         14   NIKULIN,

                                                                         15                  Defendant.
                                                                                                                         /
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                                                                         17          A criminal defendant has the right to be present at each stage of the proceedings.

                                                                         18   Defendant Yevgeniy Nikulin has already refused to appear in court once. A September 4 order

                                                                         19   subsequently granted defendant’s motion for a hearing to determine his competency to stand

                                                                         20   trial. Defendant now refuses to cooperate in his competency evaluation (Dkt. Nos. 60, 63).

                                                                         21          Defendant does not have a right to obstruct the orderly prosecution of this case. The

                                                                         22   undersigned hereby directs the United States Marshals Service and the Alameda County

                                                                         23   Sheriff’s Office to bring defendant to court on Tuesday, October 9 (forcibly or otherwise)

                                                                         24   unless defendant’s counsel presents medical evidence beforehand that defendant’s transport to

                                                                         25   the courthouse will endanger his health.

                                                                         26          In similar circumstances, a defendant’s refusal to attend proceedings has been deemed a

                                                                         27   voluntary waiver of his right to be present. See, e.g., United States v. George, 127 F.3d 1107

                                                                         28   (9th Cir. 1997). Nevertheless, before resorting to waiver, the undersigned directs the Marshals
                                                                          1   Service and Alameda County Sheriff’s Office to bring defendant to court. Dr. Alexander
                                                                          2   Grinberg shall also personally appear at the October 9 hearing.
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                                                                          4          IT IS SO ORDERED.
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                                                                          6   Dated: October 5, 2018.
                                                                                                                                      WILLIAM ALSUP
                                                                          7                                                           UNITED STATES DISTRICT JUDGE
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United States District Court
                               For the Northern District of California




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